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                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION

    DISABILITY RIGHTS OREGON,                             Case No. 3:02-cv-00339-AN (Lead Case)
    METROPOLITAN PUBLIC DEFENDER                          Case No. 3:21-cv-01637-AN (Member Case)
    SERVICES, INC., and A.J. MADISON,                     Case No. 6:22-CV-01460-AN (Member Case)

                   Plaintiffs,                            DECLARATION OF MATTHEW GREEN

           v.

    SAJEL HATHI, in her official capacity as
    head of the Oregon Health Authority, and
    SARA WALKER in her official capacity as
    Interim Superintendent of the Oregon State
    Hospital,

                   Defendants.

    JAROD BOWMAN, JOSHAWN DOUGLAS-                        Case No. 3:21-cv-01637-AN (Member Case)
    SIMPSON,

                   Plaintiffs,

           v.

     SARA WALKER, Interim Superintendent of
     the Oregon State Hospital, in her official
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                                                  Department of Justice
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     capacity, DOLORES MATTEUCCI, in her
     individual capacity, SAJEL HATHI, Director
     of the Oregon Health Authority, in her official
     capacity, and PATRICK ALLEN in his
     individual capacity,

                       Defendants.


     LEGACY EMANUEL HOSPITAL &                               Case No. 6:22-CV-01460-AN (Member Case)
     HEALTH CENTER d/b/a UNITY CENTER
     FOR BEHAVIORAL HEALTH; LEGACY
     HEALTH SYSTEM; PEACEHEALTH; and
     PROVIDENCE HEALTH & SERVICES
     OREGON,

                       Plaintiffs,
             v.

     SAJEL HATHI, in her official capacity as
     Director of Oregon Health Authority,

                       Defendant.
             I, Matthew Green, hereby declare:

     1.      I make this declaration based on my personal knowledge.

     2.      Since 2019, I have been a Senior Policy Advisor at Oregon Health Authority (OHA).

     I am a member of OHA’s Government Relations team, which conducts day-to-day

     engagement with state legislators and partners with an interest in health-related legislation.

     3.      My portfolio includes the Oregon State Hospital, so I am the lead for the Government

     Relations team on bills related to fitness to proceed, patients under aid & assist orders, and
     related issues.

     4.      In 2024, I drafted bill language to reflect the direction received from the federal

     court’s orders and the court-appointed neutral expert’s recommendations and shared it with

     interested parties. That bill language is attached hereto as Exhibit 1. That language would

     amend ORS 161.355, 161.370, and 161.371. It was designed to fully implement the court

     order and neutral expert’s report, with no other policy changes.

     5.      Continuing the executive branch’s efforts to codify Dr. Pinals’ recommendations
     regarding restoration limits, the Governor included a placeholder bill among her requests to
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     the legislature for the 2025 legislative session. It was introduced as House Bill (HB) 3051.

     HB 3051 was ultimately assigned to the House Judiciary Committee, because the latter is

     also considering other bills on similar topics. The chair of the House Judiciary Committee is

     Representative Jason Kropf, of the 54th District in Deschutes County.

     6.       At my request, early in the 2025 legislative session, Representative Kropf directed his

     staff to submit the legislative language I drafted to the Office of Legislative Counsel, for

     them to turn my draft into a formal proposed amendment to HB 3051. On February 25,

     2025, Legislative Counsel shared their proposed amendment (HB 3501-2) with me. I

     identified a minor error in their version, where the restoration time limit in one instance did

     not match the court-appointed expert’s recommendations; Legislative Counsel has since

     redrafted it to correct this error. Attached as Exhibit 2 is a true and correct copy of the

     corrected proposed amendment, now known as HB 3501-3.

     7.       In November 2024, Representative Kropf convened a legislative workgroup of

     interested stakeholders – the Workgroup on Forensic Behavioral Health – to discuss both aid

     & assist and civil commitment issues (in recognition that these issues impact each other).

     Attached as Exhibit 3 is a true and correct copy of this workgroup’s workplan.

     8.       Representative Kropf expressed to the workgroup his hope that it could reach

     consensus on at least some of the issues under discussion, and his intent to advance any such
     consensus through the legislative process.

     9.       The chair of the Senate Judiciary Committee, Senator Floyd Prozanski, has also

     followed the workgroup’s efforts, because any bills passed in the House would come to his

     committee in the Senate, but has let Representative Kropf take the lead on these issues.

     10.      The legislative workgroup has met, in whole or in subgroups, once or twice per week

     throughout session so far, and discussed a wide range of ideas.

     11.      After Legislative Counsel initially shared the proposed amendment, the workgroup

     discussed the issues it raised. Prosecuting attorneys were critical of the time limits, and of

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     making persons charged with a misdemeanor ineligible for admission to Oregon State

     Hospital, and sought more potential extensions of the time limits, but expressed a willingness

     to seek a compromise on these issues. Defense attorneys were supportive of time limits and

     of making persons charged with a misdemeanor ineligible for admission to Oregon State

     Hospital, with a call for the time limits to be even shorter in at least one instance but also

     expressed a willingness to seek a compromise.

     12.       Many workgroup members supported a proposal for placing a sunset clause on any

     bill relating to time limits, along with a mechanism to collect data on the impacts of those

     time limits, so that the legislature would revisit the issue in a few years. Many workgroup

     members supported expansion of capacity for community restoration, and of capacity for

     secure step-down locations (i.e., Class 1 Secure Residential Treatment Facilities), as an

     alternative to placement at Oregon State Hospital. Many workgroup members supported

     some form of regular check-in or review by a court of community restoration to ensure there

     is still therapeutic benefit for the patient. Some workgroup members sought adjustments

     regarding exactly which misdemeanors or felonies are considered for which time limits.

     Some workgroup members expressed a need for more oversight or standards of community

     restoration.

     13.       There are numerous other bills in the legislature relating in some manner to fitness to
     proceed and aid & assist patients, including but not limited to:

           •   HB 2470, requested by the Oregon District Attorneys Association, which would
               direct OHA to increase capacity at Oregon State Hospital or elsewhere, and
               authorizes in-custody jail-based restoration, among other provisions.

           •   HB 2467, requested by NAMI Oregon (affiliate of the National Alliance for the
               Mentally Ill), which changes the standard for civil commitment; NAMI Oregon has
               described its aim as increasing civil commitment in order to reduce aid & assist
               orders.



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           •   HB 2666, introduced by Representative Paul Evans, which creates and funds
               treatment of individuals with behavioral health disorders while in county jails.

           •   HB 2311 and HB 3058, both introduced by Representative Kevin Mannix, and which
               he has described as intended to streamline the administrative law process by which
               Oregon State Hospital makes determinations for involuntary medication.

           •   Several placeholder bills introduced have been introduced by Representative Kropf –
               or by the House Judiciary Committee which he chairs – designed to serve as vehicles
               for additional proposals relating to fitness to proceed and/or civil commitment. Based
               on his statements, I expect these to include proposals that receive broad support in the
               legislative workgroup.


     14.       HB 3051 received a public hearing in the House Judiciary Committee on Monday,

     March 10, 2025. OHA gave testimony in support of the bill – or more precisely in support of

     the amendment to the bill – from Dr. Sara Walker, Interim Superintendent of Oregon State

     Hospital, and from Ebony Clark, Behavioral Health Director. They also submitted a written

     version of their testimony, which is attached as Exhibit 4. In addition, Amy Baker,

     Behavioral Health Initiative Director for Governor Tina Kotek, testified in support of the bill.

     15.       The legislature’s calendar includes two important upcoming dates: (a) Bills must be

     posted on a committee agenda for a vote no later than March 21; and (b) Bills must then be

     voted on and passed by the committee no later than April 9 (with some exceptions that are

     not relevant here). Given these dates, the legislative staff who facilitate the workgroup’s

     efforts have expressed their plan to conclude discussions by mid-March, leaving enough time

     for drafting amendments based on those discussions and then hearing them in the House

     Judiciary Committee for a vote in early April.

     16.       Regarding funding, both Representative Kropf and workgroup members broadly

     expressed support for additional funding related to serving aid & assist and civil commitment

     patients, though Representative Kropf noted that the Judiciary committees do not determine

     budgets and that he does not serve on the Joint Ways & Means Committee, which does.
     Representative Kropf indicated that he has had initial conversations with the Co-Chairs of the
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     Joint Ways & Means Committee, Senator Kate Lieber and Representative Tawna Sanchez,

     about funding needs. The Joint Ways & Means Committee has not yet publicly released a

     budget proposal. Such a proposal is not expected until at least after May 14, 2025, when the

     next state revenue forecast will be released. Amy Baker, in her testimony in support of HB

     3501, noted that the Governor has included additional behavioral health investments in her

     recommended budget.
                      I declare under penalty of perjury that the foregoing is true and correct

                      .EXECUTED on March 11, 2025.


                                                                 s/ Matthew Green
                                                                MATTHEW GREEN




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